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                                  Advertisement Certification Report


 The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
 between December 22, 2023 and January 20, 2024. Below is a summary report that identifies the uptime
 for each day within the publication period and reports the results of the web monitoring system’s daily
 check that verifies that the advertisement was available each day.

 U.S. v. Jerry Dee Keys and Cristi Lea Keys

 Court Case No:              22-CR-228-JFH
 For Asset ID(s):            See Attached Advertisement Copy

    Consecutive          Date Advertisement         Total Hours Web Site             Verification that
    Calendar Day          Appeared on the           was Available during              Advertisement
        Count                 Web Site                  Calendar Day                existed on Web Site
          1                   12/22/2023                      23.9                          Verified
          2                   12/23/2023                      23.9                          Verified
          3                   12/24/2023                      23.9                          Verified
          4                   12/25/2023                      23.9                          Verified
          5                   12/26/2023                      23.8                          Verified
          6                   12/27/2023                      23.8                          Verified
          7                   12/28/2023                      23.9                          Verified
          8                   12/29/2023                      23.9                          Verified
          9                   12/30/2023                      23.9                          Verified
         10                   12/31/2023                      23.9                          Verified
         11                   01/01/2024                      24.0                          Verified
         12                   01/02/2024                      23.9                          Verified
         13                   01/03/2024                      23.9                          Verified
         14                   01/04/2024                      23.8                          Verified
         15                   01/05/2024                      23.9                          Verified
         16                   01/06/2024                      23.9                          Verified
         17                   01/07/2024                      23.9                          Verified
         18                   01/08/2024                      23.9                          Verified
         19                   01/09/2024                      23.9                          Verified
         20                   01/10/2024                      23.9                          Verified
         21                   01/11/2024                      23.9                          Verified
         22                   01/12/2024                      23.8                          Verified
         23                   01/13/2024                      23.9                          Verified
         24                   01/14/2024                      23.9                          Verified
         25                   01/15/2024                      23.9                          Verified
         26                   01/16/2024                      23.9                          Verified
         27                   01/17/2024                      24.0                          Verified
         28                   01/18/2024                      24.0                          Verified
         29                   01/19/2024                      23.9                          Verified
         30                   01/20/2024                      23.9                          Verified
 Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




                                                                                                               Exhibit C
